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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                      §            CASE NO. 07-10416-KJC
                                                            §
NEW CENTURY TRS HOLDINGS, INC.,                             §            Chapter 11
ET. AL.,                                                    §
                                                            §            Jointly Administered
           Debtors.                                         §
                                                            §

                  NOTICE OF FILING [REGARDING DOCKET NUMBER 1877]

           PLEASE TAKE NOTICE that on July 10, 2007, Positive Solutions, Inc. filed its Motion

for Relief from the Stay Regarding Copyright Infringement Litigation (the “Motion”)1 [Docket

No. 1877].

           PLEASE TAKE FURTHER NOTICE that attached hereto is Exhibit A to the Motion, a

true and correct copy of the License Agreement; attached hereto is Exhibit B to the Motion, a

true and correct copy of the Preliminary Injunction; and attached hereto is Exhibit C to the

Motion, a true and correct copy of the Vacatur Order.


Dated: July 18, 2007
       Wilmington, Delaware                              FOX ROTHSCHILD LLP


                                                   By:      /s/ Carl D. Neff
                                                         Daniel K. Astin, Esquire (Del. No. 4068)
                                                         Anthony M. Saccullo, Esquire (Del. No. 4141)
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                                                         -and-

1
    Capitalized terms not defined in this Notice of Filing have the same meaning ascribed to them in the Motion.


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